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 4                                UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6                                                  ***
 7     UNITED STATES OF AMERICA,                              Case No. 2:17-cr-00073-APG-GWF
 8                                          Plaintiff,
              v.
 9                                                                        ORDER
       Joshua Fisher,
10
                                          Defendant.
11

12           This matter is before the Court on Defendant’s Motion for Joinder in Defendant, Justin
13    Fisher’s, Application for an Ex Parte Motion for Court Order Allowing Defense Expert to Have
14    Contact with Justin Fisher (ECF No. 89), filed April 30, 2018.
15           Upon review and consideration, the Court finds good cause to grant Defendant’s motion.
16    Accordingly,
17           IT IS HEREBY ORDERED Defendant’s Motion for Joinder in Defendant, Justin
18    Fisher’s, Application for An Ex Parte Motion for Court Order Allowing Defense Expert to Have
19    Contact with Justin Fisher (ECF No. 89) is granted.
20           Dated this 2nd day of May, 2018.
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                                                             GEORGE FOLEY, JR.
23                                                           UNITED STATES MAGISTRATE JUDGE
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